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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                             CRIMINAL 12-0192CCC
1) JULIO L. DE JESUS-GOMEZ, a/k/a “Julio
Torta,” “Julito,” “July”
2) TANIA DE JESUS-GOMEZ
3) JULIA GOMEZ-CALCAÑO
4) JOSE SANTIAGO-GOMEZ,
a/k/a “Joseito,” “Joselito,” “El Don”
5) EDWIN MONGE-PEÑA, a/k/a “Viejo”
6) EMMANUEL MOYANO-RODRIGUEZ,
a/k/a “Memo”
7) ALEX GOMEZ-RAMOS, a/k/a “Alex
Changuia”
8) LUIS A. SUAREZ-RIVERA, a/k/a “Luis
El Gordo,” “Gordo Chiquita”
9) RUBEN MENDOZA-BONANO,
a/k/a “Gugu,” “Blanco,” “El Bori”
10) TAHIRI MONTALVO
11) ALBERTO MARTINEZ-RODRIGUEZ,
a/k/a “Cano”
12) CARLOS MARTINEZ-RODRIGUEZ,
a/k/a “Carly,” “Carlito El Buey/Matador”
13) JAVIER MORALES-ANDREU,
a/k/a “Gadget,” “Galle,” “Pedro del
Valle-Andino,” “El Bori”
14) ROBERTO MORALES-RIVERA,
a/k/a “Robert Abuela”
15) LUIS DANIEL RIVERA-PEREZ,
a/k/a “Danny”
16) FERNANDO FUERTES-ROBINSON,
a/k/a “Broco”
17) LUIS ROSS-DE LA CRUZ, a/k/a “Manco”
18) JOSE AVILA-JIMENEZ, a/k/a “Cheni”
19) JOSE M. PEREZ-LOPEZ, a/k/a “Cleto”
20) HECTOR DIAZ-MADERA, a/k/a “Flaquin”
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21) PABLO ORTIZ-CALZADA, a/k/a “Pablito,”
“Changuito,” “Pablo El Prieto”
22) LUIS GOMEZ-RAMOS, a/k/a “Luis
Moco,” “Ely”
23) OMAR CAMACHO-ALMESTICA
24) GILBERTO TRINIDAD-ORTIZ,
a/k/a “Gilbert”
25) LUIS RODRIGUEZ-GUZMAN,
a/k/a “Chino”
26) CARLOS A. MATTA-PEÑA
27) WALESKA MATTA-CUEVAS,
a/k/a “Wally,” “Jenifer’s Mom”
28) JENIFER LUGO-MATTA
29) MIGUEL VELAZQUEZ-RODRIGUEZ,
a/k/a “Migue”
30) BENITO SANTIAGO-DE JESUS
31) ARMANDO GOMEZ-ORTIZ,
a/k/a “Armandito”
32) ELIZABETH MEJILL-NEGRON,
a/k/a “Liza”
33) ELIZABETH SANTIAGO-DE JESUS
34) SUBRIEL MATHEW-MATIAS
35) ALEX HENRY MATHEW, a/k/a “Memo”
36) ROBERTO C. VEGA-RIVERA,
a/k/a “Bobby”
37) ANGEL MARTINEZ-RODRIGUEZ
38) ANDY GARCIA-MATHEW
39) OMAR QUIÑONEZ-GONZALEZ,
a/k/a “Castor,” “Velador,” “Juan Omar”
40) STEVEN BURGOS-CASTRO
41) DOMINGO PEÑA-RIVERA, a/k/a “Bebe”
42) ABNER BELARDO-COLON
43) WALTER COGHEN-TORRES, a/k/a
“Wacuco”
44) XAVIER FIGUEROA-ALVIRA,
a/k/a “Chavo”
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 45) RUBENCIO JAIME-COX
 46) JUAN L. FUENTES-RIVERA,
 a/k/a “Juaco,” “Hermano”
 47) ROSELYN SANTIAGO-DE JESUS
 48) ANA C. CARRION-CRUZ, a/k/a “India”
 49) YAMIL RIOS-CARRILLO
 50) JORGE RIVERA
 51) EMILIO MONGE-TORRES, a/k/a “Millo”
 52) JOHN L. RIVERA-CRUZ
 53) JOSE PORFIL, a/k/a “Cheito/Porfil”
 Defendants



                                            ORDER

      Having considered the Report and Recommendation filed on February 10, 2014
(docket entry 1064) on a Rule 11 proceeding of defendant [48] Ana C. Carrión-Cruz before
U.S. Magistrate Judge Marcos E. López on February 4, 2014, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that her plea was voluntary and intelligently entered with
awareness of her rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since February 4, 2014. The sentencing hearing is set for May 6,
2014 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
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party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on February 27, 2014.



                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
